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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                      1:25-cv-01015-RCL
                                                       Filed On: May 1, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants



No. 25-5145
                                                                      1:25-cv-00887-RCL


Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5144                                                September Term, 2024


No. 25-5150
                                                                     1:25-cv-00966-RCL


Middle East Broadcasting Networks, Inc.,

              Appellee

       v.

United States of America, et al.,

              Appellants


No. 25-5151
                                                                     1:25-cv-00907-RCL


Radio Free Asia,

              Appellee

       v.

United States of America, et al.,

              Appellants
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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 25-5144                                                 September Term, 2024


No. 25-5158
                                                                        1:25-cv-00799-RCL


RFE/RL, Inc.,

              Appellee

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants

       BEFORE:       Pillard, Katsas, and Rao, Circuit Judges

                                         ORDER

       Upon consideration of the motions for an administrative stay and stay pending
appeal in Nos. 25-5144, 25-5145, 25-5150, and 25-5151, the responses thereto, the
replies, and the letters; and the emergency motion for an administrative stay and stay
pending appeal in No. 25-5158, the response thereto, and the motion for expedited
consideration, it is

      ORDERED that the following orders, or parts thereof, are administratively stayed
pending further order of the court:

       In No. 25-5144, provision (2) of the district court’s preliminary injunction filed
April 22, 2025;

       In No. 25-5150, the district court’s preliminary injunction filed April 25, 2025;

       In No. 25-5151, the district court’s preliminary injunction filed April 25, 2025;

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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 25-5144                                                  September Term, 2024

        In No. 25-5158, the district court’s temporary restraining order filed April 29,
2025.

       The purpose of this administrative stay is to give the court sufficient opportunity
to consider the emergency motions for stay pending appeal and should not be
construed in any way as a ruling on the merits of those motions. See D.C. Circuit
Handbook of Practice and Internal Procedures 33 (2024).


                                         Per Curiam


                                                           FOR THE COURT:
                                                           Clifton B. Cislak, Clerk

                                                   BY:     /s/
                                                           Amy Yacisin
                                                           Deputy Clerk




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